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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


 In re: SPROUT MORTGAGE, LLC,
                                                        Chapter 11
                               Debtor.                  Case No.: 8:23-72433-reg


    STIPULATION AND [PROPOSED] ORDER WITHDRAWING SUBPOENA TO
    MICHAEL STRAUSS AND RESOLVING MOTION FOR RECONSIDERATION

       This matter having come before the Court by way of mutual application and consent of

PNC Bank, National Association (“PNC”) and Michael Strauss (“Strauss”), through their counsel,

and the Court having jurisdiction over this matter, and good and sufficient cause appearing;

       IT IS HEREBY ORDERED AND AGREED THAT

       1.      The Subpoena for Rule 2004 Examination (“Subpoena”) issued by PNC to Strauss,

dated April 17, 2024, is withdrawn.

       2.      The Order, dated April 2, 2024 (Dkt. No. 312), which authorized PNC to issue the

Subpoena, is vacated.

       3.      Strauss’s Motion to Reconsider the April 2, 2024 Order (Dkt. No. 329) is

withdrawn as moot.

       4.      Nothing in this Stipulation and Order shall be construed to limit PNC’s right to seek

discovery in any other action or proceeding, whether related or unrelated to the topics listed in the

Subpoena, through any means in accordance with applicable law, or waive any right of Strauss to

oppose any such discovery.

       5.      Nothing in this Stipulation and Order is intended or shall be deemed to constitute

an admission or acknowledgment of any fact or conclusion of law alleged, and all parties reserve

all available rights, remedies, claims and defenses without waiver.
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       6.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and/or enforcement of this Stipulation and Order.




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STIPULATED AND AGREED TO BY:

HINSHAW & CULBERTSON LLP                  KASOWITZ BENSON TORRES LLP
Attorneys for Creditor,                   Attorneys for
PNC Bank, National Association            Michael Strauss

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